                                                                                                     BAKER DONELSON CENTER,
                                                                                                     SUITE 800
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       ALBERT LOUIS CHOLLET, III, OF COUNSEL
       Direct Dial: 615.726.5741
       E-Mail Address: achollet@bakerdonelson.com
                                                           May 6, 2020


       Reid Leitner Law Group, PLLC
       Attn: Reid Leitner
       201 Fourth Avenue North, Suite 1470
       Nashville, Tennessee 37219
       reid.leitner@reidleitnerlaw.com

                Re:       April 24, 2020 Notice by Neely Engineering & Contracting, LLC

       Dear Reid:

               By this letter, Baker Donelson provides Wonder Porcelain Group LLC’s response to Neely
       Engineering & Contracting, LLC’s Notice of Termination, Notice of Intent to Seek Relief for
       Nonpayment, and Notice Pursuant to TCA §66-11-101 in connection with Container House No.
       1, Dormitory Nos. 2-6, and Trench and Pit (“Prompt Payment Notice and Demand”), received by
       Wonder Porcelain on or about April 27. By prior correspondence dated May 1 and May 4,
       respectively, Wonder Porcelain acknowledged receipt of the Prompt Payment Notice and Demand,
       requested Neely’s agreement for an extension to May 8 for Wonder’s response, and agreed to
       participate in non-binding mediation as demanded by Neely regarding the matters in Neely’s
       demand. Neely has not yet responded to Wonder Porcelain’s letters, including Wonder’s
       confirmation of agreement to non-binding mediation relating to all disputed claims. I therefore
       request that you please confirm Neely’s agreement to participate in a mediation process for the
       disputed claims.

               As an initial matter, Wonder Porcelain vehemently denies that Neely has grounds to
       terminate the contracts per the April 27 correspondence. First, Neely performed defective work in
       violation of code and contract and fundamentally failed to establish its entitlement to its claims.
       Second, Neely has failed to provide notice and opportunity to cure pursuant to Tennessee law with
       regard to any defects or failures to perform by Wonder Porcelain. Finally, Neely’s notice falsely
       presupposes that the purported termination is grounded in any enforceable contractual provision
       which binds Wonder.




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        Moreover, Neely’s Prompt Payment Notice and Demand is insufficient and disputed.
Indeed, the Prompt Payment Notice and Demand itself acknowledges and recites the substantive
discussions and disputes concerning the validity of changes and claims asserted by Neely. Neely
has been provided timely notice of the disputed claims which include, without limitation, the
defects and numerous code violations associated with Neely’s work on Dorm No. 1 leading to the
cessation of that project, Neely’s request for change orders for work otherwise in the original scope
of the contract(s), and Neely’s failure to furnish substantiating documentation relating to
entitlement and quantum for various claims. Notwithstanding the existence of bona fide disputes
between the parties, and without waiving the same, Wonder Porcelain does acknowledge that
certain claims asserted by Neely may be extricated from the broader dispute and paid at this time.
Those claims for which Wonder Porcelain offers payment at this time include the following:




Any claims which are not included in the table above are disputed and are more appropriately
resolved pursuant to mediation.

        Please advise by May 11, 2020, whether your client will agree to accept payment specified
herein in exchange for full satisfaction of the claims identified above. If so, Wonder Porcelain will
furnish Neely with a draft full and final release specifically limited to the claims to be paid while
reserving the rights of the parties to the disputed items.

        I look forward to receiving Neely’s response to the aforementioned payment offer. Wonder
Porcelain reserves all rights under contract and law, and nothing herein shall be deemed a waiver
or relinquishment of any such right or claim.

                                                      Best regards,

                                                      /s/ Albert L. Chollet III

                                                      Albert Louis Chollet, III, Of Counsel




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cc:     Christopher M. Caputo




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